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 7
                                     UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF ARIZONA
 9 HKB, Inc., an Arizona Corporation,           No. 2:16-cv-03799
   dba Southwest Industrial Rigging,            No. 2:17-cv-00198
10
                         Plaintiff,             NOTIFICATION RE: PENDING MOTION
11
   v.                                           FOR SUMMARY JUDGMENT RE:
12                                              STATUTE OF LIMITATION
   Board of Trustees for the Southwest
13 Carpenter’s Southwest Trust; et al.,
14                       Defendants.            (Assigned to   the   Honorable   Diane   J.
   Board of Trustees for the Southwest          Humetawa)
15 Carpenter’s Southwest Trust; et al.,
16                       Plaintiffs,
17 v.
18 HKB, Inc., an Arizona Corporation,
   dba Southwest Industrial Rigging, et
19 al.
20
                        Defendants.
21
22
23            As required by LR Civ 7.2(n), HKB provides notice that its Amended Motion for
24 Summary Judgment Re: Statute of Limitation was filed on March 15, 2017, and has
25 been pending for more than one hundred and eighty days. HKB respectfully asks the
26 Court to grant the motion.
27
28

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       Case 2:16-cv-03799-DJH Document 47 Filed 10/26/17 Page 2 of 3




 1            RESPECTFULLY SUBMITTED 26th day of October 2017.
 2                                         STINSON LEONARD STREET LLP
 3
                                     By:   /s/ James E. Holland, Jr.
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                                        CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on October 26, 2017 I caused the foregoing document to be

 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
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     notice of the electronic filing to:
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11                                                   /s/ Celia Munguia

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